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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


    IN RE:

    FTX CRYPTOCURRENCY EXCHANGE
    COLLAPSE LITIGATION                                  Civil Action No. 1:23-md-3076-KMM


    This Document Relates to All Actions.




                  ANDREW FIGUEROA’S MOTION FOR LEAVE TO WITHDRAW
                    AS COUNSEL FOR DEFENDANT SAM BANKMAN-FRIED

             In accordance with Local Rules 7.1(a)(1)–(2) and 11.1(d)(3), Andrew T. Figueroa requests

   the entry of an order permitting him to withdraw as counsel in this action for Defendant Sam

   Bankman-Fried.

             1.     On November 10, 2023, Attorney Figueroa will be leaving the firm Gelber

   Schachter & Greenberg, P.A., and as a result, will no longer represent Mr. Bankman-Fried in this

   action.

             2.     Gerald E. Greenberg and Adam M. Schachter of Gelber Schachter & Greenberg,

   P.A., and Jeremy Mishkin and Richard Simms of Montgomery McCracken will continue to

   represent Mr. Bankman-Fried in this action. Attorney Figueroa’s withdrawal will therefore cause

   no continuance or delay.

             3.     As required by Local Rule 7.1(a)(2), a proposed order is attached.

             WHEREFORE, Andrew T. Figueroa requests the entry of an order permitting him to

   withdraw as counsel for Mr. Bankman-Fried and discharging him from all further obligation and

   responsibility in this action.
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   Dated: November 10, 2023          Respectfully Submitted,

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